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Northern District of New York | «AB 27 997

JUDGMENT IN.ACIVIE
STEPHEN KEVIN HARRISON ° ens
Vv. CASE NUMBER: 96-CV-1354 (FJS)

KENNETH P. WILCOX, Detective Albany Police Department: SEAN P. KEAN, Detective
Albany Police Department

[X] Decision by Court. This action came to trial or hearing before the Tourt. The
issues have been tried or heard and a decision has been rendered.

IT 1S ORDERED AND ADJUDGED
That the action is dismissed pursuant to plaintiff's failure to comply with the court

order for partial payment.

All of the above pursuant to the order of the Honorable Judge Frederick J. Scullin, Jr.,
dated the 24th day of February, 1997.

February 27, 1997 GEORGE A. RAY

DATE CLERK :

(BY) DEPUTY CLERK

